 

Case 1:20-cv-00999-GPG Document1 Filed 04/08/20 USDC Colorado Page 1 of 14

IN THE UNITED STATES DISTRICT COURT :
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FOR THE DISTRICT OF COLORADO UNITED STATES DISTRICT COURT
DENVER, COLORADO

. APR -8 2020
S (To be supplied by the court) JEFFREY P. COWWERK

“Saunes zB Z lem I entovr. , Applicant,

Vv.

Civil Action No.

 

 

, Respondent.

   
   

ame of warden, superinten ent, jailer, or other custodian)

(Note: If you are attacking the validity of a state conviction or sentence and not the execution of
your. sentence, you must file an application for. a writ of habeas corpus pursuant to 28 U.S.C. §
2254. If you are attacking the validity of a judgment entered in a federal court, you must file a
motion pursuant to 28 U.S.C. § 2255 in the federal court that entered the judgment.)

 

APPLICATION FOR A WRIT OF HABEAS CORPUS
PURSUANT TO 28 U.S.C. § 2241

 

 

NOTICE

Federal Rule of Civil Procedure 5.2 addresses the privacy and security concerns resulting from
public access to electronic court files. Under this rule, papers filed with the court should not
contain: an individual’s full social security number or full birth date; the full name of a: person
known to be a minor; or a complete financial account number: A filing may include only: the
last four digits of a social security number; the year of an individual’s birth;‘a minor’s initials;
and the last four digits of a financial account number.

 

 

A. APPLICANT INFORMATION

You must notify the court of any changes to your address where case-related papers may be
served by filing a notice of change of address. Failure to keep a current address on file with the -
court may result in dismissal of your case.

James B, Camvannlan-BOP-A0QUV32

(Applicant’s name, prisoner identification mtmber, and complete mailing address)

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Indicate whether you are a prisoner.or other confined person as follows: (check one)

Pretrial detainee
Civilly committed detainee

_____ Immigration detainee "
feonvicted and sentenced state prisoner , mo
,, Convicted and séntenced federal prisoner yo

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Other: (Please explain) _:

B. RESPONDENT INFORMATION

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(Respondent’s name and complete mailing address)

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C. STATEMENT OF CLAIMS

State clearly and concisely every claim you are asserting in this action. For each claim, specify
‘the right that allegedly has been violated and all facts that support your claim. If additional
space is needed to describe any claim or to assert additional claims, use extra Paper to continue
that claim or to assert the additional claim(s). Please indicate that additional paper is attached
.and label the additional pages regarding the statement of claims as “C. STATEMENT OF
CLAIMS.” ‘

   
   
  

CLAIM ONE:

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D. PRIOR APPLICATIONS
Have you ever filed a lawsuit, other than this lawsuit, in any federal Zourt in which you raised
or could have raised the claim(s) raised in this action? __ Yes No (check one).

Tf your answer is “Yes,” complete this ‘section of the form. If you have filed more than one

prior application, use additional paper to provide the requested information for each prior .
application. Please indicate that additional paper is attached and label the additional pages

regarding previous lawsuits as “D. PRIOR APPLICATIONS.”

 

Name and location of court:

Ae,

Case number:

 

Type of proceeding:

 

List the claim(s) raised:

 

Date and result: (Attach a copy of
the decision if available)

 

Result on appeal, if appealed:

 

E. ADMINISTRATIVE REMEDIES . .
WARNING: You must exhaust administrative and/or state remedies before filing an action in
federal court pursuant to 28 U.S.C. § 2241. Your case may be dismissed if you have not
exhausted administrative and/or state remedies. If additional space is needed to explain
exhaustion, use extra paper to do so. Please indicate that additional paper is attached and label
the additional pages regarding exhaustion as “FE. ADMINISTRATIVE REMEDIES. ”

Explain the Steps you have taken to exhaust administrative and/or state remedies:

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F. REQUEST FOR RELIEF . ;
-State the relief you are requesting or what you want the court to do. If additional space is needed '
to idéntify the relief you are requesting, use extra paper.to request relief. Please indicate that
: additional paper is attached and label the additional pages regarding relief as “F. REQUEST
*FOR RELIEF.”

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G. APPLICANT’S SIGNATURE

I declare under penalty of perjury that J am the applicant in this action, that I have read this
application, and that the informiation in this application is true and correct. See 28 U.S.C. §
1746; 18 U.S:C’ § 1621. ‘ ? ‘

Under Federal Rule of Civil Procedure 11, by signing below, I also certify to the best of my
knowledge, information, and belief that this application: (1) is not being presented for an
improper purpose, such as to harass, cause unnecéssary delay, or needlessly iricrease the cost of
litigation; (2).is supported by existing law or by a nonfrivolous argument for extending or
modifying existing law; (3) the factual contentions have evidentiary support or, if specifically so
identified, will likely have, evidentiary support after a reasonable opportunity for further
investigation or discovery; and (4) the application otherwise complies with the requirements of '
Rule 11. ‘

 
   

Applhicant’s signature

—4- F-20200

" (Date)

(Form Revised December 201 7)

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U.S. DEPARTMENT OF JUSTICE REQUEST FOR ADMINISTRATIVE REMEDY

Federal Bureau of Prisons

 

 

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Received

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Admin Remedy Office

 

 

 

 

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WARDEN OR REGIONAL DIRECTOR
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Part C- RECEIPT . UO Ra =
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US. Department of Justice Regional Administrative Remedy Appeal

Federal Bureau of Pnsons
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NORTH CENTRAL REGIONS”

 

 

 

DATE REGIONAL DIRECTOR
If dissatisfied with this response, you may appeal to the General Counsel. Your appeal must be received in the General Counsel's Office within 30 calendar
days of the date of this response.

ORIGINAL: RETURN TO INMATE a CASE NUMBER: AfeAr2 a 2

CASE NUMBER:

Return to:

 

LAST NAME, FIRST, MIDDLE INITIAL REG NO. UNIT INSTITUTION
SUBJECT. :

 

 

 

DATE SIGNATURE, RECIPIENT OF REGIONAL APPEAL
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UPN LVN JUNE 2002
Case 1:20-cv-00999-GPG Document1 Filed 04/08/20 USDC Colorado Page 7 of 14
U.S. Department of Justice Central Office Administrative Remedy Appeal

Federal Bureau of Prisasis

 

Type or use ball-point pen. If attachments are needed, submut four copies. One copy each of the completed BP-229(13) and BP-230(13), including any attach-
ments must be submitted with this appeal.

From:

 

 

LAST NAME, FIRST, MIDDLE INITIAL REG. NO. UNIT INSTITUTION
Part A - REASON FOR APPEAL“ xXY\ Sing ho Dag Corbuy ARCS pene we Wooden OY Fecvrorn| oe
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Part B - RESPONSE

 

 

 

 

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BP-231(13)

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‘ BP-229 Response Case Number: 995122-F2

Your Request for Administrative Remedy dated November 1, 2019, and received inthe -
Administrative Remedy office November 13, 2019, has been reviewed. Specifically, you
claim: your release date should be updated as required by the First Step Act. Further, you
claim after your release date is changed you.will be eligible for Residential Reentry Center
(RRC) placement. As relief, you request to have your full 54-days of good'time added to —
your sentence computation and for your Unit Team to begin considering you for RRC
placement.

A review of the issue raised in your Request for Administrative Remedy has been
conducted. The results of the review revealed the Designations Sentence and
Computation Center has updated your good conduct time days with a projected release
date (PRD) of February 2, 2022. Additionally, your case manager will begin your
consideration for RRC placement when you are 17-19 months to your PRD.

Accordingly, this response to your request for Administrative Remedy is for informational
purposes Only. In the event you are not satisfied with this response and wish to appeal,
you may do so within 20 calendar days of the date of this response by: submitting a a BP-
230(13) to the Regional Director, Federal Bureau of Prison, North Central Regional
Officer, Gateway Complex, Tower Il, 8 Floor, 400 State Avenue, Kansas City, Kansas
66101-2492. . /

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Case 1:20-cv-00999-GPG Document1 Filed 04/08/20 USDC Colorado Page 9 of 14

U.S. Department of Justice - oO)
_Federal Bureau of Prisons Regional Administrative Remedy Appeal
North Central Regional Office Part B - Response-

ne
Administrative Remedy Number: 995122-R1
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This is in response to your Regional Administrative Remedy Appeal received in this office on
December 23, 2019, in which you request your current sentence computation be recalculated in
accordance with the First Step Act (FSA). Also, you request consideration for RRC placement
pursuant the FSA.

We have reviewed your appeal and the Warden’s response dated December 2, 2019. The Second
Chance Act of 2007 (the Act) allows the Bureau of Prisons to consider all inmates for RRC placement
for a maximum of up to 12 months. According to criteria identified in the Act, pre-release RRC
placement decisions must be made on an individual basis in every inmate’s case. Among the
criteria staff consider are the factors contained in 18 U.S.C. 3621(b), which include the resources of
the facility contemplated, the nature and circumstances of the offense, the history and characteristics
sof the prisoner, any statement by the court that imposed the sentence (concerning the purposes for
‘which the sentence to imprisonment was determined to be warranted; or recommending a type of
penal or correctional facility as appropriate), and any pertinent policy statement issued by'the
Sentencing Commission.

As stated in the Warden’s response, the Designations Sentence and Computation Center has .
updated your good conduct time days with a projected release date of February 2, 2022. As such,
your case will be evaluated 17-19 months prior to your release date to determine if you warrant RRC - ‘
placement or home confinement utilizing the five criteria under the eligibility provisions of the Act.

You are encouraged to work closely with your unit team, during those time frames, to provide any
information relevant for the Second Chance Act review and the First Step Act.

Based on the above information, this response to your Regional Administrative Remedy Appeal is for
informational purposes only.

If you are dissatisfied with this response, you may appeal to the Office of General Counsel, Federal
Bureau of Prisons, 320 First Street, NW, Washington, DC 20534. Your appeal must be received in
the Office of General Counsel within 30 days from the date of this response.

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* Date

 
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PAGE 006 OF 006 * SANITIZED FORMAT ° *
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gp cEDERAL CORRECTIONAL COMPLEX
FLORENCE, COLORADO
_ INFORMAL RESOLUTION FORM

Notice to Inmate:_Incrates have the respon sibility to-use this Program in Good Falth and inan Honest and
Straightforward manner.

 

 

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( f moe copy of supporting exhibits, as exhibits will net be returned with the BP-229(13} response.)

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Department's Response regarding Complaint:

 
 
 

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